                                           Case 3:21-cv-08458-LB Document 61 Filed 12/29/22 Page 1 of 1




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6

                                   7

                                   8                                  UNITED STATES DISTRICT COURT

                                   9                                 NORTHERN DISTRICT OF CALIFORNIA

                                  10                                         San Francisco Division

                                  11     BRYON U JACKSON,                                   Case No. 21-cv-08458-LB
                                  12                    Plaintiff,
Northern District of California




                                                                                            DISCOVERY ORDER
 United States District Court




                                  13             v.

                                  14     TARGET CORPORATON,
                                  15                    Defendant.

                                  16
                                          The court denies the plaintiff’s pending discovery motions without prejudice and orders the
                                  17
                                       parties to comply with the dispute procedures in the undersigned’s standing order (attached). The
                                  18
                                       procedures in it require, among other things, that if a meet-and-confer by other means does not
                                  19
                                       resolve the parties’ dispute, lead counsel for the parties must meet and confer in person (if counsel
                                  20
                                       are local) and then submit a joint letter brief with information about any unresolved disputes. The
                                  21
                                       letter brief must be filed under the Civil Events category of “Motions and Related Filings >
                                  22
                                       Motions – General > Discovery Letter Brief.” After reviewing the joint letter brief, the court will
                                  23
                                       evaluate whether future proceedings are necessary, including any further briefing or argument.
                                  24
                                          IT IS SO ORDERED.
                                  25
                                          Dated: December 29, 2022
                                  26
                                                                                        ______________________________________
                                  27                                                    LAUREL BEELER
                                                                                        United States Magistrate Judge
                                  28

                                       ORDER – No. 21-cv-08458-LB
